              Case 24-12480-LSS          Doc 1422    Filed 05/07/25     Page 1 of 1


                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FRANCHISE GROUP, INC., et al.,                      Case No. 24-12480-LSS

                              Debtors.              (Jointly Administered)

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Paul H. Aloe, Esq., of Kudman Trachten Aloe Posner LLP, 488 Madison Avenue,
23rd Floor, New York, New York 10022, to represent Brian Kahn and Lauren Kahn in the above-
captioned cases.

Dated: May 6, 2025                    By:    /s/ Bruce W. McCullough
                                             Bruce W. McCullough (Bar No. 3112)
                                             BODELL BOVE, LLC
                                             1225 N. King Street, Suite 1000
                                             Wilmington, Delaware 19801
                                             Tel: (302) 655-6749
                                             bmccullough@bodellbove.com

           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the States of New York, New
Jersey, and Pennsylvania, and submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of these cases. I also certify that I am
generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
revised December 21, 2023. I further certify that the fee of $50.00 has been paid to the Clerk of
the Court for District Court.

Dated: May 6, 2025                    By:    /s/ Paul H. Aloe
                                             Paul H. Aloe
                                             KUDMAN TRACHTEN ALOE POSNER LLP
                                             488 Madison Avenue, 23rd Floor
                                             New York, New York 10022
                                             Tel: (212) 868-1010
                                             paloe@kudmanlaw.com

                               ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
